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      IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                               PENNSYLVANIA


WELL BUILT REALTY CORPORATION,                                CIVIL ACTION NO. 2:22-cv-1265

         Plaintiff,

vs.

SUKUP MANUFACTURING COMPANY and
SUKUP STEEL STRUCTURES, LLC,

         Defendants.


                                        NOTICE OF REMOVAL


TO THE HONORABLE JUDGES IN THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF PENNSYLVANIA:

         Defendants, Sukup Manufacturing Company and Sukup Steel Structures, LLC,

(hereinafter “Sukup”) by and through its attorneys, Rawle & Henderson LLP, respectfully aver

as follows:


             1.      Plaintiff commenced a civil action against defendants in the Court of Common

Pleas of Beaver County, Pennsylvania, with the filing of a Complaint on August 16, 2022.

             2.      Plaintiff’s most recent Complaint named Sukup Manufacturing Company and

Sukup Steel Structures, LLC, as defendants. See Exhibit “A” – Plaintiff’s Complaint.

             3.      Plaintiff, Well Built Realty Corporation, alleges that they sustained injury and

property damages, from a fire, which occurred on July 18, 2020 at 360 14th Street in Ambridge,

Pennsylvania. See Plaintiff’s Complaint ¶¶9, 44-45 and 57-58 attached hereto as Exhibit “A.”




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             4.      Plaintiff also alleges, based on tenant Sukup being the tenant of the property that

their actions and omissions may have been negligent in causing said fire. See Plaintiff’s

Complaint ¶¶9-11.

             5.      Based upon a fair reading of the Complaint, Plaintiff, Well Built Realty

Corporation, has set forth a claim in which upon information and belief, states a claim for an

amount in excess of the jurisdictional limit of $75,000.00, exclusive of interest and costs, may

be at stake. See Plaintiff’s Complaint ¶14.

        6.           Plaintiff, Well Built Realty Corporation, is a corporation of the Commonwealth of

Pennsylvania. See Plaintiff’s Complaint attached hereto as Exhibit “A.” ¶1.

        7.           Defendants, Sukup, is an Iowa corporation, with its principal place of business at

1555 255th Street, Sheffield, IA 50475-0677. See Plaintiff’s Complaint attached hereto as Exhibit

“A.” ¶¶2-3.

        8.           “The district courts shall have original jurisdiction of all civil actions where the

matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

between citizens of different States.” 28 USCS § 1332(a)(1).

        9.           Furthermore, diversity of citizenship existed at the time the action sought to be

removed was commenced and continues through the time of filing of this notice, such that

defendant is entitled to removal pursuant to 28 U.S.C. §1441, as amended, and 28 U.S.C. §1446.




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         WHEREFORE, Defendants, Sukup, prays that the above-captioned action now pending

in the Court of Common Pleas of Beaver County, Pennsylvania, be removed therefrom to this

Honorable Court.

                                                RAWLE & HENDERSON LLP




                                                By:
                                                       Thomas DiStefano, Esquire
                                                       Attorneys for Defendants




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                              CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the within NOTICE OF REMOVAL was

forwarded to counsel of record below named on the 2nd day of September, 2022.

                                        VIA EMAIL
                                 Kenneth T. Levine, Esquire
                                 klevine@delucalevine.com
                              301 E. Germantown Pike, 3rd Floor
                                   East Norriton, PA 19401
                                     Counsel for Plaintiff

                                                  RAWLE & HENDERSON LLP




                                                  By:
                                                         Thomas DiStefano, Esquire
                                                         Attorneys for Defendants




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